     Case 1:12-cr-00184-DAD-BAM Document 147 Filed 05/08/15 Page 1 of 2


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      Federal Defender
2     DAVID M. PORTER, Bar #127024
      Assistant Federal Defender
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      Sacramento, CA 95814
4     Tel: 916-498-5700/Fax 916-498-5710
5
      Attorney for Defendant
6     ALFONSO CORNEJO
7
8
                                    IN THE UNITED STATES DISTRICT COURT
9
                                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                    ) Case No. 1:12-cr-00184-AWI-BAM-4
                                                  )
12                     Plaintiff,                 ) REQUEST TO CONTINUE HEARING ON
                                                  ) MOTION TO REDUCE PURSUANT TO 18
13            vs.                                 ) U.S.C. § 3582(c)(2); ORDER
                                                  )
14   ALFONSO CORNEJO,                             ) RETROACTIVE DRUGS-MINUS-TWO
                                                  ) REDUCTION CASE
15                     Defendant.                 )
                                                  ) Judge: Honorable ANTHONY W. ISHII
16                                                )
17
18             Pursuant to Local Rule 430.1(c), Defendant ALFONSO CORNEJO, by and through his
19    attorney, Assistant Federal Defender David M. Porter, hereby requests the hearing on

20    defendant’s Motion to Reduce Sentence, scheduled for Monday, May 11, 2015, be continued to

21    Monday, May 18, 2015, at 10:00 A.M. Assistant United States Attorney, Kathleen A. Servatius,

22    has indicated she has no objection to this request.

23    Dated: May 7, 2015
                                                    Respectfully submitted,
24
25                                                  HEATHER E. WILLIAMS
                                                    Federal Defender
26
                                                    /s/ David M. Porter_
27                                                  DAVID M. PORTER
28                                                  Assistant Federal Defender

      Sen
       Request for Continuance of Hearing                                        U.S. v Cornejo, F 12-184 AWI
       On Motion to Reduce Sentence
     Case 1:12-cr-00184-DAD-BAM Document 147 Filed 05/08/15 Page 2 of 2


1                                           ORDER
2              The hearing date of May 11, 2015, on defendant’s Motion to Reduce Sentence, is hereby
3     VACATED. A new hearing on the motion is set for May 18, 2015, at 10:00 A.M.
4
5     IT IS SO ORDERED.

6     Dated:     May 8, 2015
                                                 SENIOR DISTRICT JUDGE
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      Sen
       Request for Continuance of Hearing                                      U.S. v Cornejo, F 12-184 AWI
       On Motion to Reduce Sentence
